                Case 3:21-cv-09767-EMC Document 60 Filed 03/09/22 Page 1 of 5




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14   ROBERT ZOELLICK
15
                                    UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18

19 PHILIP GOLUBOWSKI, INDIVIDUALLY               CASE NO. 3:21-CV-09767-EMC
   AND ON BEHALF OF ALL OTHERS
20 SIMILARLY SITUATED,                           STIPULATION RE CASE
                                                 MANAGEMENT CONFERENCE
21                    Plaintiff,                 AND [PROPOSED] ORDER
22         v.
23 ROBINHOOD MARKETS, INC. ET AL.,

24                    Defendants.
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     CASE NO. 3:21-cv-09767-EMC                       STIPULATION RE CMC AND [PROPOSED] ORDER
              Case 3:21-cv-09767-EMC Document 60 Filed 03/09/22 Page 2 of 5




 1          Plaintiff Philip Golubowski (“Plaintiff”) and Defendants Robinhood Markets, Inc.

 2 (“Robinhood”); Vladimir Tenev, Jason Warnick, Baiju Bhatt, Jan Hammer, Paula Loop, Jonathan

 3 Rubenstein, Scott Sandell, Robert Zoellick (together with Robinhood, the “Robinhood Defendants”);

 4 and Goldman Sachs & Co. LLC, J.P. Morgan Securities LLC, Barclays Capital Inc., Wells Fargo

 5 Securities, LLC, Mizuho Securities USA LLC, JMP Securities LLC, KeyBanc Capital Markets Inc.,

 6 Piper Sandler & Co., Rosenblatt Securities Inc., BMO Capital Markets Corp., BTIG, LLC, Santander

 7 Investment Securities Inc., Academy Securities, Inc., Loop Capital Markets LLC, Samuel A. Ramirez &

 8 Company, Inc., and Siebert Williams Shank & Co., LLC (the “Underwriter Defendants,” and together

 9 with the Robinhood Defendants, the “Defendants”) by and through their counsel of record jointly

10 stipulate as follows:

11          WHEREAS, the December 22, 2021 initial case scheduling order (“Scheduling Order”) set an

12 initial case management conference for March 22, 2022, and, further established deadlines of 21 days

13 before the conference for the parties to file ADR Certifications and to meet and confer regarding initial

14 disclosures, early settlement, ADR process selection, and a discovery plan, see ECF No. 7;

15          WHEREAS, the Scheduling Order further provided that, if the initial case management

16 conference is continued, then the relevant deadlines set forth therein would be continued for the same

17 period of time;

18          WHEREAS, the Private Securities Litigation Reform Act (the “PSLRA”) provides that: (1)

19 the plaintiff who files a securities class action shall publish notice to the purported class within 20

20 days of filing the action informing the class members of their right to seek appointment as lead

21 plaintiff; (2) not later than 60 days after the date on which the notice is published, any member of

22 the purported class may move the court to serve as lead plaintiff of the purported class; and (3) the

23 Court shall appoint lead plaintiff and lead counsel. See 15 U.S.C. § 77z-1(a)(3)(A) & (B);

24          WHEREAS, a hearing on multiple motions to appoint the lead plaintiff and lead plaintiffs’

25 counsel is presently noticed for March 24, 2022;

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     CASE NO. 3:21-cv-09767-EMC                                 STIPULATION RE CMC AND [PROPOSED] ORDER
                 Case 3:21-cv-09767-EMC Document 60 Filed 03/09/22 Page 3 of 5




 1          WHEREAS, the parties agree and stipulate that, in the interests of judicial efficiency, the March

 2 22, 2022 initial case management conference and associated deadlines should be continued until after

 3 the Court has appointed lead plaintiffs’ counsel;

 4          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED THAT:

 5          1.       The initial case management conference currently scheduled for March 22, 2022 should

 6                   be vacated and rescheduled for a date after the Court has ruled on the pending motions

 7                   related to the appointment of lead plaintiffs’ counsel.

 8          2.       Within 10 court days after the entry of any order by the Court appointing lead counsel,

 9                   the parties shall meet and confer and shall submit a stipulation setting a date for an initial

10                   case management conference and all deadlines associated therewith.

11

12 DATED: March 1, 2022                                     Respectfully submitted,

13                                                          ANTONY L. RYAN
14                                                          KEVIN J. ORSINI
                                                            BRITTANY L. SUKIENNIK
15                                                          CRAVATH, SWAINE & MOORE LLP

16                                                          MARK R. CONRAD
                                                            LIZ KIM
17                                                          CONRAD | METLITZKY | KANE LLP
18
                                                            /s/ Mark R. Conrad
19                                                          MARK R. CONRAD
                                                            Attorneys for Robinhood Defendants
20

21
                                                            JAMES N. KRAMER
22                                                          ALEXANDER K. TALARIDES
                                                            ORRICK HERRINGTON & SUTCLIFFE LLP
23
                                                            /s/ Alexander K. Talarides
24                                                          ALEXANDER K. TALARIDES
25
                                                            Attorneys for Underwriter Defendants
26

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     CASE NO. 3:21-cv-09767-EMC                                   STIPULATION RE CMC AND [PROPOSED] ORDER
              Case 3:21-cv-09767-EMC Document 60 Filed 03/09/22 Page 4 of 5




                                                           JOHN T. JASNOCH
 1                                                         HAL CUNNIGHAM
 2                                                         SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                                           /s/ John T. Jasnoch
 3                                                         JOHN T. JASNOCH

 4                                                         Attorneys for Plaintiff Philip Golubowski
 5

 6                            ATTESTATION (CIVIL LOCAL RULE 5-1(i)(3))
 7          In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this
 8 document has been obtained from the signatories.

 9

10 Dated: March 1, 2022

11                                                         s/ Mark R. Conrad
                                                           MARK R. CONRAD
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     CASE NO. 3:21-cv-09767-EMC                                 STIPULATION RE CMC AND [PROPOSED] ORDER
              Case 3:21-cv-09767-EMC Document 60 Filed 03/09/22 Page 5 of 5




 1                                           [PROPOSED] ORDER

 2          Pursuant to stipulation, initial case management conference scheduled for March 22, 2022,

 3 together with all deadlines set by the Court’s order scheduling the conference, are hereby VACATED.

 4 Within 10 court days after the entry of any order by the Court resolving the pending motions to appoint

 5 lead counsel in this matter, the parties shall meet and confer and shall submit a stipulation setting a date

 6 for an initial case management conference and all deadlines associated therewith.

 7 IT IS SO ORDERED.

 8

                9 2022
 9 Dated: March __,
                                                          HONORABLE JUDGE EDWARD M. CHEN
10                                                        UNITED STATES DISTRICT JUDGE
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     CASE NO. 3:21-cv-09767-EMC                                 STIPULATION RE CMC AND [PROPOSED] ORDER
